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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
                                                       :
UNITED STATES OF AMERICA                               :           19 Cr. 374 (JMF)
                                                       :
         -v-                                           :       SCHEDULING ORDER
                                                       :
MICHAEL AVENATTI,                                      :
                                                       :
                                    Defendant.         :
                                                       :
-------------------------------------------------------x

JESSE M. FURMAN, United States District Judge:

         Upon reflection, the Court is persuaded that the use of a jury questionnaire in this case is
indeed appropriate and will serve to make the selection of a fair and impartial jury more
efficient. As the Court discussed with the parties at the conference held on October 14, 2021,
due to the COVID-19 trial protocols that are in effect, that requires a brief adjournment of the
trial date. This Order sets forth the new trial date and various pretrial deadlines.

    1. Trial Date

         Unless and until the Court orders otherwise, trial in this case shall begin (in a courtroom
to be determined when trial gets closer) on Monday, February 7, 2022, at 9:30 a.m. As counsel
are aware, that date is contingent on the Court being allocated that date through the centralized
trial scheduling process now in effect. For avoidance of doubt, however, the parties should treat
February 7, 2022, as a firm trial date.

    2. Final Pretrial Conference

       Unless and until the Court orders otherwise, the parties shall appear for a final pretrial
conference on Wednesday, February 2, 2022, at 9:00 a.m. in Courtroom 1105 of the
Thurgood Marshall Courthouse, 40 Centre Street, New York, New York 10007. The final
pretrial conference must be attended by the attorney(s) who will serve as principal trial
counsel.

    3. Jury Questionnaire

       No later than Thursday, December 23, 2021, the parties shall submit (on ECF and,
simultaneously, by-email to Furman_NYSDChambers@nysd.uscourts.gov in Microsoft Word
format) a revised proposed jury questionnaire. To the extent that the parties disagree, they
should file and submit their respective proposals along with a redline identifying the areas of
disagreement.
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   4. Jury Selection

       Unless and until the Court orders otherwise, the Court will follow these procedures in
connection with selecting a jury:

       •    A pool of 100-150 prospective jurors will complete the questionnaire on the morning
            of Thursday, January 27, 2022, under the supervision of the Jury Department.

       •    The Government will be responsible for (a) making copies of the final version of the
            questionnaire adopted by the Court for the Jury Department and (b) making copies of
            the completed questionnaires immediately available in electronic format to the
            defense and the Court. The Government shall make arrangements directly with the
            Jury Department to obtain the completed questionnaires.

       •    No later than Monday, January 31, 2022, at 10:00 a.m., the Government shall file a
            letter with a list of jurors (identified by juror number, not name) that both sides agree
            should be excused for cause. Prospective jurors on the parties’ joint strike list will be
            excused without any review or inquiry by the Court.

       •    No later than the same date and time (Monday, January 31, 2022, at 10:00 a.m.),
            the parties shall also file lists of jurors (identified by juror number, not name) that
            only one side believes should be excused for cause, along with a short explanation of
            why the party believes each juror should be excused. The Court will review the
            parties’ lists and decide whether to exclude any jurors on that basis.

       •    The Court will then conduct oral voir dire of the remaining prospective jurors
            beginning at 9:30 a.m. on Wednesday, February 2, 2022 (continuing, if necessary,
            on February 3 and 4, 2022).

   5. Pretrial Submissions

        Any proposed voir dire, proposed jury instructions, and proposed verdict forms, as well
as any motions in limine or trial memoranda, shall be filed by Thursday, December 23, 2021.
Any opposition to a motion in limine or trial memorandum shall be filed by Friday, January 7,
2022. At the time of filing, the proposed voir dire, proposed jury instructions, and proposed
verdict forms must be e-mailed, in Microsoft Word format, to
Furman_NYSDChambers@nysd.uscourts.gov.

   6. Pretrial Disclosures

       The parties previously agreed to a schedule with respect to the exchange of certain
material and information prior to and during trial, which the Court adopts — modified to reflect
the short adjournment of trial) at the request of the parties, to wit:

       Wednesday, January 26, 2022:            The Government provides to the Defendant material



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                                             covered by 18 U.S.C. § 3500 and Giglio v. United
                                             States, 405 U.S. 150 (1972). The Government also
                                             provides to the Defendant a list of witnesses whom
                                             the Government reasonably expects to call in its
                                             case-in-chief.

       Thursday, January 27, 2022:           The Government provides to the Defendant a list of
                                             exhibits that the Government reasonably expects to
                                             seek to introduce during its case-in-chief. This
                                             exhibit list will be subject to good-faith revision as
                                             the Government continues to prepare its case for
                                             trial, including in response to the defense’s list of
                                             proposed exhibits that it anticipates seeking to
                                             introduce into evidence during the Government’s
                                             case-in-chief.

       Tuesday, February 1, 2022:            The Defendant provides to the Government a list of
                                             exhibits that the Defendant reasonably expects to
                                             introduce during the Government’s case-in-chief.
                                             This exhibit list will be subject to good-faith
                                             revision as the defense continues to prepare for its
                                             case.

       At least five business days prior
       to the anticipated start of a
       defense case:                         The Defendant provides to the Government material
                                             covered by Rule 26.2 of the Federal Rules of
                                             Criminal Procedure.

       At least three business days prior
       to the anticipated start of a
       defense case:                      The Defendant provides the Government with a list
                                          of exhibits that he reasonably expects to seek to
                                          introduce during his case. This exhibit list will be
                                          subject to good-faith revision as the defense
                                          continues to prepare for its case.

        Recognizing that 3500 and Rule 26.2 obligations are continuing, the parties have agreed
that when new material is generated after the pertinent deadline described above, such material
will be timely provided, i.e., generally the same day it is generated, and prior to the witness to
whom it applies next taking the stand. The defense has also agreed that, consistent with Rule
26.2(c), if the defense intends to withhold any such material on the ground of privilege or work-
product, it will provide that material to the Court for timely review.

       In addition to the schedule above, the parties have also conferred and reached agreement



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regarding the following procedures in order to narrow or moot disputes, which the Court adopts
at the request of the parties: (1) attempting in good faith to share any proposed summary chart at
least one week before it will be sought to be introduced, notwithstanding the foregoing, to permit
the opposing party to review the accuracy of the chart; (2) sharing any visuals or slides to be
used in opening statements, at least one business day before such statements; and (3) alerting the
opposing party to (a) the next day’s witnesses, in anticipated order, and (b) the exhibits expected
to be sought to be introduced through those witnesses, by at least 5:00 p.m. on the day before
calling such witnesses, and the party to whom such disclosure is made will provide any
objections to such exhibits as quickly as possible that evening, so that the parties may confer and
then be prepared, if necessary, to raise any objections with the Court in the morning, prior to the
beginning of the trial day during which the exhibits are expected to be sought to be introduced.

        The parties have also agreed that they anticipate timely agreeing to stipulations to avoid
the need to call custodians of records or otherwise to authenticate evidence or the accuracy of
transcripts, and the parties agree that the dates set forth herein do not alter the parties’ reciprocal
discovery obligations or the obligation to produce materials obtained pursuant to Federal Rule of
Criminal Procedure 17(c), absent an order to the contrary.

   7. Familiarity with the Court’s Individual Rules and Practices

         The parties must familiarize themselves with the Court’s Individual Rules and Practices
in Criminal Cases and Individual Rules and Practices for Hearings and Trials, both of which are
available at https://nysd.uscourts.gov/hon-jesse-m-furman. Among other things, it is the parties’
obligation to ensure that whatever technological needs they have — for the use of computers or
other devices, presentation of evidence, or otherwise — are addressed in advance of trial. The
parties shall contact Chambers and/or the District Executive’s Office sufficiently in advance of
the trial date to raise any questions, address any technological needs, and arrange for testing of
any technology.

                          *               *                *                *

       The Clerk of Court is directed to terminate ECF No. 153.

       SO ORDERED.

Dated: November 2, 2021                                _________________________________
       New York, New York                                     JESSE M. FURMAN
                                                            United States District Judge




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